       Case 1:05-cr-00082-TWP-TAB                          Document 252               Filed 03/17/16         Page 1 of 2 PageID #:
                                                                  1719
AO 247 (Rev. 11/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)      Page 1 of 2 (Page 2 Not for Public Disclosure)


                                      UNITED STATES DISTRICT COURT
                                                                        for the
                                                        Southern District
                                                      __________ District of
                                                                          ofIndiana
                                                                             __________

                    United States of America
                               v.                                          )
                            Avery Beeks                                    )
                                                                           )    Case No: 1:05CR00082-003
                                                                           )    USM No: 08397-027
Date of Original Judgment:                            05/11/2011           )
Date of Previous Amended Judgment:                                         )    Pro Se
(Use Date of Last Amended Judgment if Any)                                      Defendant’s Attorney


                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                           PURSUANT TO 18 U.S.C. § 3582(c)(2)
        Upon motion of ✔   u the defendant u the Director of the Bureau of Prisons u the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
           ✔ DENIED. u GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
           u
the last judgment issued) of                   months is reduced to                                      .
                                             (Complete Parts I and II of Page 2 when motion is granted)



    Mr. Beeks was sentenced pursuant to an 11(c)(1)(C) Plea Agreement that was not based on the sentencing
    guideline calculations.




Except as otherwise provided, all provisions of the judgment dated                                            shall remain in effect.
IT IS SO ORDERED.

Order Date:            March 17, 2016
                                                                               ________________________________
                                                                               LARRY J. McKINNEY, JUDGE
Effective Date:                                                                United States District Court
                     (if different from order date)
                                                                               Southern District of Indiana
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 Distribution:

 Electronically Registered Counsel

 Avery Beeks
 Reg. No. 08397-027
 FCI Terre Haute
 Federal Correctional Institution
 P.O. Box 33
 Terre Haute, IN 47808
